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Application for ID      295

 Personal Info
 First name:                         Mary
 Last name:                          Connolly
 Suffix name:                        N/A
 Date of birth:
 Street address:
 Apartment/Suite:                    N/A
 City:                               Bernardsville
 State:                              New Jersey
 Zip code:                           07924
 Phone:                              203-858-1298
 SSN:

 Application
 Use of funds:                       Consolidate Debt
 Raising Amount:                     $7,500

 Education
 Degree type                         Bachelor's
 School name:                        Quinnipiac University
 Area of study:                      Physician Assistant
 Graduation year                     1999

 Income
 Income type:                        Employed - Hourly
 Custom Company Name:                Fischer Health &amp;amp; Rehabilitation
 Start date:                         2008-03
 Annual income:                      $
 Hourly rate:                        $
 Hours per week:
 Other Compensation:                 $0
 Pay Frequency:                      Biweekly

 Savings
 Checking & savings:                 $
 Investment accounts:                N/A

 Loans in the past 3 months
 No recent loans

 Milestone Dates
 Check Rate Date:                    2022-02-02
 Application Date:                   N/A
 Decision Date:                      2022-02-10
 Decision Type:                      Instant Approved
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